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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA               )
                                       )
                                       )
VS.                                    )    CASE NO. 4:06CR00211-02 HLJ
                                       )
ROBERT J. COLEE                        )


                  PROPOSED FINDINGS AND RECOMMENDATIONS
                                 INSTRUCTIONS

       The following recommended disposition has been sent to United

States District Court Judge J. Leon Holmes.           Any party may serve and

file written objections to this recommendation.              Objections should

be specific and should include the factual or legal basis for the

objection.     If the objection is to a factual finding, specifically

identify that finding and the evidence that supports your objection.

An original and one copy of your objections must be received in the

office of the United States District Court Clerk no later than

eleven (11) days from the date of the findings and recommendations.

The copy will be furnished to the opposing party.               Failure to file
timely objections may result in waiver of the right to appeal

questions of fact.

       If you are objecting to the recommendation and also desire to

submit new, different, or additional evidence, and to have a hearing

for this purpose before the District Judge, you must, at the same

time that you file your written objections, include the following:

       1.    Why the record made before the Magistrate Judge is
             inadequate.

       2.    Why the evidence proffered at the hearing before the
             District Judge (if such a hearing is granted) was
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               not offered at the hearing before the Magistrate
               Judge.

        3.     The detail of any testimony desired to be introduced
               at the hearing before the District Judge in the form
               of an offer of proof, and a copy, or the original, of
               any documentary or other non-testimonial evidence
               desired to be introduced at the hearing before the
               District Judge.

From    this    submission,     the   District        Judge   will     determine       the

necessity for an additional evidentiary hearing, either before the

Magistrate Judge or before the District Judge.

        Mail your objections and “Statement of Necessity” to:

               Clerk, United States District Court
               Eastern District of Arkansas
               600 West Capitol Avenue, Suite A149
               Little Rock, AR 72201-3325

                                   DISPOSITION
        Now before the court is Defendant Colee’s “Motion to Challenge

the Venue Jurisdiction in the Subject Indictment ” (DE # 41), which

the court interprets as a motion to dismiss the indictment for

failure to allege venue sufficiently.                 Defendant states he and four

other    defendants     were    charged    in     a    one-count     indictment       with
conspiring with one another to defraud the United States for the

purpose of impairing the Internal Revenue Service (I.R.S.) from

assessing and collecting over $1,000,000 of income taxes that were

due and owing in violation of 18 U.S.C. § 371.                Defendant raises the

following question: Does the indictment satisfy the requirement of

Fed.R.Crim.P       18   and    Article    III,     Section    2,    Clause       3,   U.S.

Constitution to confer jurisdiction on the United States District

Court for the Eastern District of Arkansas?

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        Defendant       contends    “the   indictment     fails    to   allege    venue

jurisdiction.”          He specifically asserts as follows:

        The indictment contains numerous allegations of overt
        acts. And while the government alleges one or more of the
        co-conspirators opened bank accounts at numerous financial
        institutions[,] see Overt Acts 1-21, they failed to allege
        whether the institutions were located in the Eastern
        District of Arkansas. Nothing else in the indictment
        indicates where any defendant did anything. Count[] 1 is
        therefore legally defective and ought to be dismissed for
        want of venue jurisdiction.
“Motion     to    Challenge        the   Venue   Jurisdiction      in     the   Subject
Indictment ” (DE # 41), p.4.
        The Government asserts that in the prosecution of a conspiracy,
venue is proper in any district where the agreement was made or
where an overt act in furtherance of the conspiracy was committed.
In the present case, the indictment alleges the conspiracy took
place     in     “the    Eastern     District     of   Arkansas     and     elsewhere”
(Indictment, p. 2), and it contains a chart showing the alleged
overt acts (Indictment, pp. 8-14), with the allegation that the
overt acts were committed in “the Eastern District of Arkansas and
elsewhere” (Indictment, p. 8).
        In his reply, Defendant argues the allegations that the crime
was committed “in the Eastern District of Arkansas and elsewhere” is
a “naked and conclusory allegation,” and is insufficient to vest
this court with jurisdiction, because “[t]here is not a single act
identified in the indictment which can be determined to have been
committed in the Eastern District of Arkansas.”                   Defendant’s Reply
(DE # 51), p. 2.          Defendant further asserts
        [v]enue jurisdiction once challenged in a pre-trial motion
        must be proven pre-trial by the government as the

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     defendant is not required to wait until trial to discover
     that the government’s proof is wanting.       The subject
     indictment does not supply the required specificity or
     detail, and the government’s response does not contain any
     “proof” of venue, as there is no indication anywhere that
     any particular alleged act occurred in any particular
     district, much less having occurred in the Eastern
     District of Arkansas.
Id., at 3.   Further, the Defendant contends
     there is a complete absence of allegation of the place or
     places within the Eastern District of Arkansas where
     illegal conduct supposedly occurred. Other than alleging
     that there were corporations in Washington, or that
     various persons opened bank accounts, supposedly in
     various places, nothing else in the indictment indicates
     where any defendant did any thing.
Id. at 6.
     The court recognizes that
     “[p]roper venue is required by Article III, § 2 of the
     United States Constitution and by the Sixth Amendment, as
     well as Rule 18 of the Federal Rules of Criminal
     Procedure.” United States v. Romero, 150 F.3d 821, 824 (8th
     Cir.1998) (brackets, citations, and internal quotations
     omitted). A violation of federal law may be prosecuted “in
     any district in which such offense was begun, continued,
     or completed.” 18 U.S.C. § 3237(a). “Furthermore, although
     separate proof of an overt act is not a necessary element
     of a drug conspiracy under 21 U.S.C. § 846, venue is
     proper in a conspiracy case in any jurisdiction in which
     an overt act in furtherance of the conspiracy was
     committed by any of the conspirators.” Romero, 150 F.3d at
     824 (citations and internal quotations omitted).
U.S. v. Morales, 445 F.3d 1081, 1084 (8th Cir. 2006).
     The question concerns allegations in an indictment.                 The
Government has alleged the overt acts occurred in the Eastern
District of Arkansas and elsewhere.        That is sufficient to allege
venue in a conspiracy case.     If the Government successfully proves
at trial that any of the listed overt acts occurred anywhere in this
district, then venue will have been proper here.                If defendant


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wishes,   he   may   seek   a   bill   of   particulars      for   more    details
concerning the alleged overt acts, but the failure of the Government
to connect the overt acts to a specific town in this district in the
indictment, or the addition of the phrase “and elsewhere,” does not
subject the indictment to dismissal.
     Defendant’s “Motion to Challenge the Venue Jurisdiction in the
Subject Indictment ” (DE # 41), is hereby denied.
     SO ORDERED this 20th day of August, 2008.



                                            United States Magistrate Judge




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